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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR04-0301-MJP-JPD
09               Plaintiff,               )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   RICHARD LEE RODMAN,                  )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12               Defendant.               )
     ____________________________________ )
13

14          An initial hearing on a petition for violation of supervised release was held before the

15 undersigned Magistrate Judge on March 1, 2006. The United States was represented by

16 Assistant United States Attorney John Lulejian, and the defendant by Mr. Robert Goldsmith.

17 The proceedings were recorded on cassette tape.

18          The defendant had been charged and convicted of Conspiracy to Distribute Cocaine. On

19 or about July 28, 2005, defendant was sentenced by the Honorable Marsha J. Pechman to a term

20 of twelve (12) months and one (1) day in custody, followed by three (3) years of supervised

21 release.

22          The conditions of supervised release included the requirements that the defendant comply

23 with all local, state, and federal laws, and with the standard conditions. Special conditions

24 imposed included, but were not limited to, substance-abuse treatment participation, consent to

25 search and seizure, no firearms possession, consent to the collection of DNA, and financial

26 disclosure.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
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01          In a Report on Offender Under Supervision dated February 2, 2006, U.S. Probation

02 Officer Mark Okano asserted the following violations by defendant of the conditions of his

03 supervised release:

04          (1)    Using cocaine on or about December 29, 2005, in violation of standard condition

05 number 7.

06          (2)    Using cocaine and methamphetamine on or about January 22, 2006, in violation

07 of standard condition number 7.

08          The defendant was advised of the allegations, and advised of his rights. Defendant

09 admitted to the violations, and waived any rights to an evidentiary hearing as to whether they

10 occurred.

11          I therefore recommend that the Court find the defendant to have violated the terms and

12 conditions of his supervised release as to violation No. 1 and No. 2, and that the Court conduct

13 a hearing limited to disposition. A disposition hearing will be set before the Honorable Marsha

14 J. Pechman at a date to be determined.

15          Pending a final determination by the Court, the defendant has been released, subject to

16 continued supervision.

17          DATED this 2nd day of March, 2006.



                                                         A
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19
                                                         JAMES P. DONOHUE
20                                                       United States Magistrate Judge
21

22 cc:      District Judge:               Honorable Marsha J. Pechman
            AUSA:                         Mr. John Lulejian
23          Defendant’s attorney:         Mr. Robert Goldsmith
24          Probation officer:            Mr. Mark Okano

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     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
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